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Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
Nos., State Bar No. & Email Address
 Ashley M. McDow (245114)
 John A. Simon (Admitted Pro Hac Vice)
 FOLEY & LARDNER LLP
 555 S. Flower St., Suite 3300
 Los Angeles, CA 90071
 Telephone: 213.972.4500
 Facsimile: 213.486.0065
 Email: amcdow@foley.com
         jsimon@foley.com




     Movant(s) appearing without an attorney
    Attorney for Debtors and Debtors-in-Possession,
  Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC
                                                          UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
In re:                                                                                  2:19-bk-14989-WB; Jointly Administered:
SCOOBEEZ, et al. 1                                                            CASE NO.: 2:19-bk-14991-WB; 2:19-bk-14997-WB
                                                                              CHAPTER: 11

                                                                                     DECLARATION THAT NO PARTY
                                                                                   REQUESTED A HEARING ON MOTION
                                                                                           LBR 9013-1(o)(3)

Affects:

■ All Debtors

□ Scoobeez, ONLY                                                                                     [No Hearing Required]

□ Scoobeez Global, Inc., ONLY

□ Scoobur LLC, ONLY

  1. I am the          Movant(s) or         attorney for Movant(s) or           employed by attorney for Movant(s).

  2. On (date):           7/12/19       Movant(s) filed a motion or application (Motion) entitled:
         OMNIBUS MOTION OF DEBTORS TO REJECT CERTAIN UNEXPIRED VEHICLE LEASES;

  3. A copy of the Motion and notice of motion is attached to this declaration.

  4. On (date):          7/12/19        Movant(s), served a copy of              the notice of motion or         the Motion and notice of motion

         on required parties using the method(s) identified on the Proof of Service of the notice of motion.



1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez
(6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard,
Glendale, California 91214.
             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                                                                                                American LegalNet, Inc.
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  5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
     request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
     mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


  6. More than 21          days have passed after Movant(s) served the notice of motion.

  7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
     was timely filed.
  8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
     address, email address, or facsimile number specified in the notice of motion.

  9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




   Date:     8/2/2019                                       /s/ Ashley M. McDow
                                                            Signature


                                                            Ashley M. McDow
                                                            Printed name




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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 1   Ashley M. McDow (245114)
     John A. Simon (Admitted Pro Hac Vice)
 2   FOLEY & LARDNER LLP
     555 S. Flower St., Suite 3300
 3   Los Angeles, CA 90071
     Telephone:    213.972.4500
 4   Facsimile:    213.486.0065
     Email:        amcdow@foley.com
 5                 jsimon@foley.com
 6   Proposed Attorneys for Debtors and
     Debtors-in-Possession, Scoobeez,
 7   Scoobeez Global, Inc., and Scoobur, LLC
 8
                                  UNITED STATES BANKRUPTCY COURT
 9
                                       CENTRAL DISTRICT OF CALIFORNIA
10
                                              LOS ANGELES DIVISION
11
     In re                                         )          Case No. 2:19-bk-14989-WB
12                                                 )          Jointly Administered:
     SCOOBEEZ, et al.1                             )          2:19-bk-14991-WB; 2:19-bk-14997-WB
13                                                 )
                Debtors and Debtors in Possession. )          Chapter 11
14                                                 )
     _____________________________________ )                  NOTICE OF OMNIBUS MOTION AND
15                                                 )          OMNIBUS MOTION OF DEBTORS TO
     Affects:                                      )          REJECT CERTAIN UNEXPIRED VEHICLE
16                                                 )          LEASES; MEMORANDUM OF POINTS AND
     ■ All Debtors                                 )          AUTHORITIES IN SUPPORT THEREOF;
17                                                 )          AND DECLARATION OF BRIAN WEISS
     □ Scoobeez, ONLY                              )
18                                                 )          [No hearing required pursuant to Local Bankruptcy
     □ Scoobeez Global, Inc., ONLY                 )          Rule 9013-1(o)(1)]
19                                                 )
     □ Scoobur LLC, ONLY                           )
20                                                 )          HON. JULIA BRAND

21

22
             TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
23
     PORSCHE FINANCIAL SERVICES, MERCEDES-BENZ FINANCIAL SERVICES, BENTLEY
24
     FINANCIAL SERVICES, HILLAIR CAPITAL MANAGEMENT, LLC, THE OFFICIAL
25
     COMMITTEE OF UNSECURED CREDITORS, PARTIES REQUESTING SPECIAL NOTICE,
26
     AND THE OFFICE OF THE UNITED STATES TRUSTEE:
27
     1
28     The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
     follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
     address is 3463 Foothill Boulevard, Glendale, California 91214.
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 1           PLEASE TAKE NOTICE that by this motion Scoobeez, Scoobeez Global, Inc. and Scoobur,
 2   LLC, the debtors and debtors-in-possession (collectively, the “Debtors”) in the above-captioned jointly
 3   administered bankruptcy proceedings (collectively, the “Chapter 11 Cases”), hereby move the Court for
 4   entry of an order, pursuant to section 365 of title 11 of the United States Code (the “Bankruptcy Code”)
 5   rejecting certain unexpired vehicle leases (the “Leases”) executed among Debtors and three separate
 6   lessors concerning vehicles (the “Vehicles”), for the vehicles set forth below:
 7

 8     Vehicle Description                      Lessor                             Rejection Date

 9     2017 Porsche Panamera 4S
                                                Porsche Financial Services         April 30, 2019
10     VIN: WPOAB2A71HL122432
11     2017 Mercedes-Benz S63V4                 Mercedes-Benz Financial            April 30, 2019
                                                Services
12     VIN: WDDUG7JB3HA332354
13     2017 Bentley CONT GTC V8 S
                                                Bentley Financial Services         April 30, 2019
14     VIN: SCBGH3ZA7HC063551
15

16           PLEASE TAKE FURTHER NOTICE that the Debtors seek to reject the Leases as of April 30,
17   2019 (the “Rejection Date”).
18           PLEASE TAKE FURTHER NOTICE that the basis for the relief requested in this Motion is
19   set forth below in the attached Memorandum of Points and Authorities and in the Declaration of Brian
20   Weiss (the “Weiss Declaration”), which is being filed concurrently with this Motion and is incorporated
21   herein by reference.
22           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(o), the
23   Debtors have not scheduled a hearing on the Motion and are requesting that relief be granted without a
24   hearing. Accordingly, any response to this Motion and request for hearing must be filed with the
25   Bankruptcy Court and served on proposed counsel for the Debtors and the United States Trustee within
26   fourteen (14) days of the date of service of this Notice.
27           PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(h), any
28   failure to file and serve a timely response and request for hearing may be deemed by the Court to


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 1   constitute consent to the relief requested in the Motion, and the Motion may be granted without a
 2   hearing.
 3           PLEASE TAKE FURTHER NOTICE that the Debtors will serve this Notice and Motion and
 4   the attached Memorandum of Points and Authorities on: (a) the Office of the United States Trustee, (b)
 5   counsel for the Official Committee of Unsecured Creditors, (c) counsel for the Debtors’ secured lender,
 6   Hillair Capital Management, LLC (d) counsel for Porsche Financial Services, (e) Mercedes-Benz
 7   Financial Services, (f) counsel for Bentley Financial Services, and (g) all other parties requesting notice
 8   in the Chapter 11 Cases. In the event that the Court grants the relief requested by the Motion, the
 9   Debtors shall provide notice of the entry of the order granting such relief upon each of the foregoing
10   parties and any other parties-in-interest as the Court directs. The Debtors submit that such notice is
11   sufficient and that no other or further notice be given.
12

13    Dated: July 12, 2019                                      FOLEY & LARDNER, LLP
14                                                              /s/Ashley M. McDow
                                                                Ashley M. McDow
15
                                                                Ashley M. McDow (245114)
16                                                              John A. Simon (Admitted Pro Hac Vice)
                                                                FOLEY & LARDNER LLP
17                                                              555 S. Flower St., Suite 3300
                                                                Los Angeles, CA 90071
18                                                              Telephone:    213.972.4500
                                                                Facsimile:    213.486.0065
19                                                              Email:        amcdow@foley.com
                                                                              jsimon@foley.com
20
                                                                Proposed Attorneys for Debtors and Debtors-in-
21                                                              Possession, Scoobeez, Scoobeez Global, Inc.,
                                                                and Scoobur, LLC
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 1                              MEMORANDUM OF POINTS AND AUTHORITIES
 2            Scoobeez, Scoobeez Global, Inc. and Scoobur, LLC, the debtors and debtors-in-possession in the
 3   above-captioned jointly administered bankruptcy proceedings (collectively, the “Debtors”) hereby file
 4   this Memorandum of Points and Authorities in support of their Omnibus Motion to Reject Certain
 5   Unexpired Vehicle Leases, and respectfully represent as follows:
 6   I.       JURISDICTION AND VENUE
 7            The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a core
 8   proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
 9   The statutory predicate for the relief requested herein is section 365 of title 11 of the United States Code
10   (the “Bankruptcy Code”).
11   II.      STATEMENT OF FACTS
12            A.        The Bankruptcy Cases
13                      On April 30, 2019, (the “Petition Date”), the Debtors each filed a petition for relief (a
14   “Petition”) under Chapter 11 of Title 11 of the Bankruptcy Code (the “Chapter 11 Cases”), in the United
15   States Bankruptcy Court for the Central District of California, Los Angeles Division (the “Court”). The
16   Debtors intend to continue in possession of their property and to operate their businesses as debtors-in-
17   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for appointment
18   of a Chapter 11 trustee or examiner has been made. On May 20, 2019, the Office of the United States
19   Trustee appointed an Official Committee of Unsecured Creditors (the “Committee”) in the Chapter 11
20   Cases.
21            On May 13, 2019, the Court granted the joint administration motion filed by the Debtors and the
22   Chapter 11 Cases are being jointly administered under Case No. 19-14989.
23            B.        Debtor’s Formation and Business Overview
24                      Scoobeez is a logistics and delivery company headquartered at 3463 Foothill Boulevard,
25   Glendale, California 91214. Amazon is their largest customer. Over the past two (2) years, an
26   increasing number of lawsuits had been filed against one or more of the Debtors, including various labor
27   disputes. Most recently, on or about April 22, 2019, Hillair Capital Management LLC (“Hillair”) filed a
28   three-count complaint against the Debtors, alleging breach of contract, breach of guaranty and replevin


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 1   and delivery, which is currently pending as case number 19GDCV00492 in the Superior Court of the
 2   State of California, County of Los Angeles, North Central District (the “Los Angeles Case”). On or
 3   about April 24, 2019, Hillair filed an Ex Parte Application to Appoint Receiver, Issue Temporary
 4   Restraining Order and Set Order to Show Cause Why Receiver Should Not Be Confirmed and Why
 5   Preliminary Injunction Should Not Be Issued (the “Ex Parte Application”) in the Los Angeles Case.
 6   The hearing on the Ex Parte Application was set for May 1, 2019 at 1:30 p.m., however, the Debtors
 7   commenced the Chapter 11 Cases prior to that hearing. In addition, within the past 90-120 days, a
 8   number of purported creditors have filed UCC-1 financing statements asserting liens against
 9   substantially all, if not all, of the Debtors’ personal property, including but not limited to accounts
10   receivable.
11           Based on the aforementioned events and circumstances, amongst others, the Debtors began to
12   explore and evaluate potential reorganization strategies aimed towards preserving and strengthening the
13   Debtors’ operations. After significant deliberation by the Debtors in this regard, the Debtors
14   determined, that pursing reorganization under Chapter 11 of the Bankruptcy Code provided the best
15   option for the Debtors, their customer(s), and their creditors.
16   III.    RELIEF REQUESTED
17                      By this Motion, the Debtors seek entry of an order, pursuant to section 365 of the
18   Bankruptcy Code, rejecting as of April 30, 2019 certain unexpired vehicle leases (the “Leases”)
19   executed between Debtors and three separate lessors concerning vehicles (the “Vehicles”) described as:
20

21     Vehicle Description                         Lessor                             Rejection Date

22     2017 Porsche Panamera 4S
                                                   Porsche Financial Services         April 30, 2019
23     VIN: WPOAB2A71HL122432
24     2017 Mercedes-Benz S63V4                    Mercedes-Benz Financial            April 30, 2019
                                                   Services
25     VIN: WDDUG7JB3HA332354
26     2017 Bentley CONT GTC V8 S
                                                   Bentley Financial Services         April 30, 2019
27     VIN: SCBGH3ZA7HC063551
28


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 1   IV.     ARGUMENT
 2           Section 365(a) of the Bankruptcy Code provides that, “subject to the court’s approval [a debtor
 3   in possession] may assume or reject any executory contract or unexpired lease of the debtor.” Courts
 4   apply the “business judgment test” in determining whether a debtor in possession’s proposed assumption
 5   or rejection of an executory contract or unexpired lease is appropriate under Bankruptcy Code § 365.
 6   Agarwal v. Pomona valley Medical Group, Inc. (In re Pomona Valley Medical Group, Inc.), 476 F.3d
 7   665, 670 (9th Cir. 2007); Durkin v. Benedor Corp. (In re G.I. Indust., Inc.), 204 F.3d 1276, 1282 (9th
 8   Cir. 2000); see also NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984). Under the business
 9   judgment test, if assumption or rejection would benefit the debtor’s estate, the court should approve the
10   debtor’s proposed assumption or rejection. Pomona Valley Medical Group, Inc., 476 F.3d at 670-71. At
11   least one bankruptcy court concluded that a debtor’s decision to reject a lease should be granted as a
12   matter of course:
13                      [C]ourt approval under Section 365(a), if required, except in extraordinary
                        situations, should be granted as a matter of course. To begin, this rule
14                      places responsibility for administering the estate with the trustee, not the
                        court, and therefore furthers the policy of judicial independence
15                      considered vital by the authors of the Code. Second, this rule expedites
                        the administration of estates, another goal of the Bankruptcy Reform Act.
16                      Third, the rule encourages rehabilitation by permitting the replacement of
                        marginal with profitable business arrangements . . . .
17

18   Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981).
19           The Debtors have determined in their sound business judgment that rejection of the Leases is in
20   the best interest of the estates. Rejection of the Leases will help avoid potential monthly charges and
21   increase the Debtors’ liquidity. The proposed rejection will help avoid additional administrative
22   expenses. There is no operational need for the Debtors to retain the Leases for the Vehicles. In
23   addition, the Debtors have determined that they will be unable to assign the Leases to third parties for
24   value. Given that the Vehicles are not a part of the Debtors’ going-forward business plan and that the
25   Leases appear to have no value, the Debtors have decided, in the exercise of their sound business
26   judgment, to reject the Leases in order to eliminate the incurrence of additional post-petition
27   administrative obligations.
28


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 1   V.      NOTICE
 2           Notice of this Motion has been provided to: (a) the Office of the United States Trustee for the
 3   Central District of California; (b) counsel to Hillair Capital Management, LLC (c) counsel to the
 4   Committee; (d) counsel for Porsche Financial Services; (e) Mercedes-Benz Financial Services, (f)
 5   counsel for Bentley Financial Services, and (g) the parties that file with the Court requests for notice of
 6   all matters in accordance with Bankruptcy Rule 2002. The Debtors submit that in light of the nature of
 7   the relief requested, no further notice is required.
 8   VI.     NO PRIOR REQUEST
 9           No prior application for the relief requested herein has been made to this or any other court.
10   VII.    CONCLUSION
11           For all the foregoing reasons, the Debtors respectfully request that the Court enter an order (i)
12   granting the Motion, effective April 30, 2019, and (ii) granting such other and further relief as is just and
13   proper under the circumstances.
14   Dated: July 12, 2019                              FOLEY & LARDNER, LLP
15                                                     /s/Ashley M. McDow
                                                       Ashley M. McDow
16
                                                       Ashley M. McDow (245114)
17                                                     John A. Simon (Admitted Pro Hac Vice)
                                                       FOLEY & LARDNER LLP
18                                                     555 S. Flower St., Suite 3300
                                                       Los Angeles, CA 90071
19                                                     Telephone:    213.972.4500
                                                       Facsimile:    213.486.0065
20                                                     Email:        amcdow@foley.com
                                                                     jsimon@foley.com
21
                                                       Proposed Attorneys for Debtors and Debtors-in-
22                                                     Possession, Scoobeez, Scoobeez Global, Inc., and
                                                       Scoobur, LLC
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 1                                           DECLARATION OF BRIAN WEISS
 2              I, Brian Weiss, hereby declare:
 3              1.       I am an individual over 18 years of age. I have personal knowledge of the facts stated
 4   herein as more fully set forth below or have gained such knowledge by review of the file and if called as
 5   a witness, I could and would competently testify thereto.
 6              2.       I make this Declaration in support of the motion (the “Motion”)2 filed by Scoobeez,
 7   Scoobeez Global, Inc., and Scoobur, LLC (collectively the “Debtors”) for entry of an order, pursuant to
 8   section 365 of the Bankruptcy Code rejecting Leases concerning the Vehicles. All facts in this
 9   Declaration are based on my personal knowledge, information gathered from my review of relevant
10   documents, and information supplied to me by the Debtors or their professionals.
11              3.       I am the Chief Restructuring Officer of the Debtors. As such, I am generally responsible
12   for managing the operations of the Debtors and, thus, am familiar with the Debtors’ operations, assets,
13   and liabilities. In the ordinary course of business, I rely on the maintenance by personnel of the Debtors
14   of true and correct copies of various documents and information relating to the Debtors. As to the
15   following facts, I know them to be true of my own knowledge or I have gained knowledge of them from
16   discussions with personnel of the Debtors or business records, which were made at or about the time of
17   the events recorded, and which are maintained in the ordinary course of the Debtors’ business at or near
18   the time of the acts, conditions or events to which they related. Additionally, as the CRO, I have been
19   involved in discussions and planning sessions related to the potential reorganization options and, thus,
20   am familiar with the objectives the Debtors intend to achieve through the Bankruptcy Cases.
21              4.       The Debtors have determined in their sound business judgment that rejection of the
22   Leases is in the best interest of the estates. Rejection of the Leases will help avoid potential monthly
23   charges and increase the Debtors’ liquidity. The proposed rejection will help avoid additional
24   administrative expenses. There is no operational need for the Debtors to retain the Leases for the
25   Vehicles. In addition, the Debtors have determined that they will be unable to assign the Leases to third
26   parties for value. Given that the Vehicles are not a part of the Debtors’ going-forward business plan and
27

28   2
         Capitalized terms not defined herein have the terms ascribed to them in the Motion.

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 1   that the Leases appear to have no value, the Debtors have decided, in the exercise of their sound
 2   business judgment, to reject the Leases in order to eliminate the incurrence of additional post-petition
 3   administrative obligations
 4           I declare under penalty of perjury that the foregoing is true and correct. Executed this 12th day
 5   of July, 2019.
                                                          ____________________________
 6
                                                          Brian Weiss
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                                    PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
A true and correct copy of the foregoing document entitled (specify): NOTICE OF OMNIBUS MOTION AND OMNIBUS
MOTION OF DEBTORS TO REJECT CERTAIN UNEXPIRED VEHICLE LEASES; MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT THEREOF; AND DECLARATION OF BRIAN WEISS will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
07/12/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
Vivian Ho BKClaimConfirmation@ftb.ca.gov
Alvin Mar alvin.mar@usdoj.gov
Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
Stacey A Miller smiller@tharpe-howell.com
Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
Rejoy Nalkara rejoy.nalkara@americaninfosource.com
Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
David L. Neale dln@lnbyb.com
Aram Ordubegian ordubegian.aram@arentfox.com
Gregory M Salvato gsalvato@salvatolawoffices.com, calendar@salvatolawoffices.com; jboufadel@salvatolawoffices.com;
gsalvato@ecf.inforuptcy.com
Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Eric K Yaeckel yaeckel@sullivanlawgroupapc.com
                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 07/12/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                         , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   07/12/2019               Ashley M. McDow                                    /s/ Ashley M. McDow
   Date                     Printed Name                                       Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
            Case 2:19-bk-14989-WB                    Doc 246
                                                         194 Filed 08/02/19
                                                                   07/12/19 Entered 08/02/19
                                                                                     07/12/19 15:43:51
                                                                                              21:11:09                                      Desc
                                                      Main Document    Page 13
                                                                            11 of 15
                                                                                  11

2. SERVED BY UNITED STATES MAIL:

 Calstar Motors, Inc.                                            MERCEDES-BENZ FINANCIAL SERVICES USA LLC
 Attention: Officer, Managing or General Agent                   c/o The Corporation Trust Company
 700 S. Brand Blvd.                                              Corporation Trust Center
 Glendale, CA 91204                                              1209 Orange Street
                                                                 Wilmington, DE 19801




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
            Case 2:19-bk-14989-WB                    Doc 246 Filed 08/02/19 Entered 08/02/19 15:43:51                                       Desc
                                                      Main Document    Page 14 of 15
                                    PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
A true and correct copy of the foregoing document entitled (specify): DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION LBR 9013-1(o)(3) will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
08/02/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
Vivian Ho BKClaimConfirmation@ftb.ca.gov
Alvin Mar alvin.mar@usdoj.gov
Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
Stacey A Miller smiller@tharpe-howell.com
Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
Rejoy Nalkara rejoy.nalkara@americaninfosource.com
Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
David L. Neale dln@lnbyb.com
Aram Ordubegian ordubegian.aram@arentfox.com
Gregory M Salvato gsalvato@salvatolawoffices.com, calendar@salvatolawoffices.com; jboufadel@salvatolawoffices.com;
gsalvato@ecf.inforuptcy.com
Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Eric K Yaeckel yaeckel@sullivanlawgroupapc.com

                                                                                                Service information continued on attached page

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On (date) 08/02/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                                         Service information continued on attached page

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following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   08/02/2019               Sonia Gaeta                                        /s/ Sonia Gaeta
   Date                     Printed Name                                        Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
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                                                      Main Document    Page 15 of 15

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 Calstar Motors, Inc.                                            MERCEDES-BENZ FINANCIAL SERVICES USA LLC
 Attention: Officer, Managing or General Agent                   c/o The Corporation Trust Company
 700 S. Brand Blvd.                                              Corporation Trust Center
 Glendale, CA 91204                                              1209 Orange Street
                                                                 Wilmington, DE 19801




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June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
